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 2
 3              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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         UNITED STATES OF AMERICA,
 6                                                       Case No. CR06-5544RBL
                              Plaintiff,
 7                                                       INITIAL ORDER RE: ALLEGATIONS
                      v.                                 OF VIOLATION OF CONDITIONS
 8                                                       OF SUPERVISION BY UNITED
         CHAD ERIC RHODES,                               STATES PROBATION OFFICE
 9
                              Defendant.
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12   THIS MATTER comes on for hearing on the Petition of the United States Probation Office alleging
     that the defendant has violated the conditions of supervision.
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     The plaintiff appears through Special/Assistant United States Attorney, MATT THOMAS;
14   The defendant appears personally and represented by counsel, RUSSELL LEONARD;

15   The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
     supervision; the defendant has been advised of the allegation(s)and maximum potential sanction if
16   substantiated; and the court finding probable cause with regard to the alleged violation(s);

17   The matter is scheduled for hearing before the Honorable RONALD B. LEIGHTON:

18                         Date: JUNE 3, 2010

19                         Time: 10:00 AM

20   (   ) Defendant is released pending the above scheduled hearing.

21   ( X ) Defendant is ordered detained for failing to show that he/she will not flee or pose a danger to any
     other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
22   by the court for further proceedings.

23   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
     the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.
24
                                                          May 21, 2010.
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27
                                                          A
                                                          J. Richard Creatura
                                                          United States Magistrate Judge
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     ORDER
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